~-:';.--
'i  , ..
           ,\, ..t'           -'                                                                                                                          ...
 ~-U.S .. Department          of Justice                                                      PROCESS RECEiPT AND RETURN
    United States Marshals Service                                                            See "Instructions for Service of Process by U.S. Marshal"

     PLAINTIFF                                                                                                                COURT CASE NUMBER
     Rosita Sabrosso-Rennick                                                                                                 5: 17-cv-114-BO
     DEFENDANT                                                                                                                TYPE OF PROCESS
     North Carolina State Treasurer                                                                                           Summons Complaint Amnd Complaint
                                                                                                       RVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

                                                                                                       unsel, Shannon Conley or Angela Cooper



     SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW                                                  Number of process to be
    --------------.---------------------------------------------------------------7----                                  served with this Form 285

                      r-;:sita Sabrosso-Rennick                                                                          Number of parties to be
                       3 802 Delveme Road                                                                                served in this case
                       Baltimore, MD 21218
                                                                                                                         Check for service
                      L                                                                                                  on U.S.A.

        SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (!ndude Business qndA/ternate Addresses.
        All Telep/Jone Numbers, and Estimated Times Available for Service):
 Fold                                                                                                                                                                       Fold




     Signature of Attorney other Originator requesting service on behalf of:                  f&I PLAINTIFF          TELEPHONE NUMBER                    DATE

                                                                                              0   DEFENDANT           919-645-1700                       2/12/18

           SPACE BELOW FOR USE OF U.S. MARSHAL ONLY-- DO NOT WRITE BELOW TIDS LINE
     I acknowledge receipt for the total      Total Process    District of      District to       Signature of Authorized USMS Deputy or Clerk                   Date
     number of process indicated.                              Origin           Serve
     (Sign only for USM 285 ifmore
     than one USM 285 is submitted)                  1         No.Si&.          No~                ~~~~              ~~                                         J-JJJ8
     I hereby certify and return that ID have personally served ,D have legal evidence of service, ~ave executed as shown in "Remarks", the process described
     on the individual, company, corporation, etc., at the address shown above on the on the individual, company, corporation, etc. shown at the address inserted below.

     D       I hereby certify and return that I am unable to locate the individual, "company, corporation, etc. named above (See remarks below)
     Name and title of individual served (if not shown above)                                                                   D    A person of suitable age and discretion
                                                                                                                                     then residing in defendant's usual place
                                                                                                                                     of abode
     Address (complete only different than shown above)                                                                          Date                   Time
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                                                                                                                                 Signature of U.S. Ma~shal or Deputy
                                                                                                                                Q_L!Au\       ~::X'.b
    Service Fee            Total Mileage Charges Forwarding Fee              Total Charges        Advance Deposits      Amount owed to U.S. Marshal* or
                           including endeavors)                                                                         (Amount of Refund*)
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     REMARKS:         ~.a(rll~..:ERTIFIE D MA IL~ J Yb Q 0 oo(2_J:&_<e_q                              'S 1'JS-
                  ~..~,\~ SEE PS FORM 3311 OR USPS TRACKING                                                      FILED
     DISIRIBUIE IO.           I. CLERK OF THE COURT                                                           MAR 0 8 ·20                    PRIOR EDITIONS MAY BE USED
                              2. USMS RECORD                                                      @'<:;-rrc;:; .                18
                              3. NOTICE OF SERVICE                                              , :.:~: 7.,i; ...;. • RE
                              4. ~ILLING ST~TEMENT*: To be ~eturned to the U.S. Marshal wil!Yp.a_r~en~-               :;-J( 1~f}. CLERI(
                                 1f any amount 1s owed. Please remit promptly payable to U.S. Marshal. -· " .• _               ' ·}f,.DNc                            Forin USM-285
                              5. ACKNOWLEDGMENT OF RECEIPT                                                                  ... u::;p CO(                                 Rev. 11/13
                               Case 5:17-cv-00114-BO Document 25 Filed 03/08/18 Page 1 of 4
    SENDER: COMPLETE THIS SECTION                                COMPLETE THIS SECTION ON DELIVERY

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     • Print your name and address on the reverse
        so that we can return the card to you.      ·
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     • Attach this card to the back of the mailpiece,
        or on the front if space.permits.

            North Carolina State T~~hrer
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           Shannon conley or Angehi•Cooper
            3200 Atlantic Avenue "

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